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                                                                                         FILED
                                                                             United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                               Tenth Circuit

                               FOR THE TENTH CIRCUIT                                August 29, 2023
                           _________________________________
                                                                                 Christopher M. Wolpert
                                                                                     Clerk of Court
  ROCKY MOUNTAIN GUN OWNERS;
  TATE MOSGROVE; ADRIAN PINEDA,

        Plaintiffs - Appellees,

  v.                                                               No. 23-1251
                                                      (D.C. No. 1:23-CV-01077-PAB-NRN)
  JARED POLIS, in his official capacity as                          (D. Colo.)
  Governor of the State of Colorado,

        Defendant - Appellant.
                       _________________________________

                                        ORDER
                           _________________________________

 Before McHUGH and MORITZ, Circuit Judges.
                   _________________________________

        Colorado Governor Jared Polis seeks an emergency stay pending appeal of the

 district court’s order preliminarily enjoining the enforcement of Colorado SB23-169.

 SB23-169 modified the Colorado statutes to prohibit firearm purchases by, and sales to,

 persons under 21 years of age.

        To receive a stay pending appeal, a movant “must establish that he is likely to

 succeed on the merits, that he is likely to suffer irreparable harm in the absence of

 preliminary relief, that the balance of equities tips in his favor, and that an injunction is in

 the public interest.” Warner v. Gross, 776 F.3d 721, 728 (10th Cir.) (internal quotation

 marks omitted), aff’d sub nom. Glossip v. Gross, 576 U.S. 863 (2015); see also 10th Cir.

 R. 8.1 (enumerating stay factors); Nken v. Holder, 556 U.S. 418, 434 (2009). Upon
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 consideration, the Governor has failed to show his entitlement to a stay under these

 factors. Accordingly, we deny his emergency motion for a stay pending appeal.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk




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